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Order Setting Conditions of Release (rev. 10/21)                                                                                   Page I

                                               UNITED STATES DISTRICT COURT                                      Fl LED
                                                                                                             IN CLERK'S OFFICE
                                                      Eastern District of New York                     U.S. DISTRICT COURT E.D.N.Y.

           United States of America                                                                    *       NOV O5 2021           *
                      -v-
                                                                                                       LONG ISLAND OFFICE
LJ)i/1;< , btt,'at f4x.,,,ll:IL
                  Defendant
                                                                         Case No.: 1,../    - Gt'-   01./52. u!)<JU>
                                         ORDER SETTING CONDITIONS OF RELEASE AND BOND


          Upon an Appearance Bond executed by defendant in the amount of$
                                                                                ap7call
          It is hereby ordered that the above-named defendant be released, subject to the standard conditions of release on page 3, and
          Upon a Personal Recognizance Bond on the defendant's promise to                     scheduled proceedings as required.
                                                                                     001 000. 00                . and secured by
          [,0 financially responsible sureties;
          [)Cl collateral set forth below.
                                                   ADDITIONAL CONDITIONS OF RELEASE
         The Court, finding that release under the standard conditions ofrelease on page 3 will not by themselves reasonably assure
the appearance of the defendant and/or the safety of other persons and the community, further orders the following conditions:
l)O   I. The defendant must remain in, and may not leave, the following areas without Court permission:

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[)CJ 2.

[ ] 3. The defendant must avoid, and not go to, any of the following locations:

[)(} 4. The defendant must immediately surrender all passports to the Pretrial Services Department and may not obtain other
        passports or any other international travel documentation.
[)c1 5. The defendant is placed under the supervision of the Pretrial Services Department with the following conditions:
        [)() a. The defendant is subject to random visits by a Pretrial Services Officer at the place residence and/or employment.
        [ )q b. The defendant must report:
                 [ "1 as directed by the Pretrial Services Department.
                 [ ]      in person ___ times per _ _ _ _ __
                 [ ]      by telephone ___ times per _ _ _ _ _ _.
        [ ~ c. The defendant must undergo substance abuse (including alcoholism) testing, evaluation, and/or treatment
        [ ] d. The defendant must undergo mental health testing, evaluation, and/or treatment.
        [)(] e. The defendant is subject to the following location restriction program and must comply with all of its requir~me~ts:
                 [ ]      Curfew: The defendant restricted to the place of residence every day                        (.sl:c ~J•w)
                          [ ]       from _ _ _ _ _ _ _ to _ _ _ _ _ _....;
                          [ ]       as directed by the Pretrial Services Department.
                 [ ]      Home Detention: The defendant is restricted to the place of residence at all times except for employment,
                          education, religious services, medicaVsubstance abuse/mental health treatment, attorney visits, court
                          appearances, court-ordered obligations, or other activities approved in advance by the Pretrial Services
                          Department.
                 [ ]      Home Incarceration: The defendant is restricted to 24-hour-a-day lock-down at the place of residence
                          except for medical necessities, court appearances, or other activities specifically approved by the Court.
        [ ] f. Defendant must pay all, or part of, the cost of any required testing, evaluation, treatment and/or location monitoring
                 with personal funds, based upon the defendant's ability to pay as determined by the Court and/or the Pretrial
                 Services Department, and/or from any available insurance.
[ ] 6. See attached Supplemental Conditions of Release in cases subject to Pub. L. No. I09-248.
[)(I 7. Other Conditions of Release:

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Order Setting Conditions of Release (rev. 10/21)                                                                                                 Page2


                                                          APPEARANCE BOND


that I/we, jointly and severally, are bound to pay to the United States of America the sum of$
                                                                                                    w,us.
          I/We, the undersigned defendant and each surety who signs this bond, acknowledge that I/we have read this Appearance
Bond and have either read all other conditions of release or have had those conditions explained                I/we further acknowledge
                                                                                                            000. 00                 and that
this obligation is secured with the interest in the following property(ies) ("Collateral") which I/we represent is/are free and clear of
liens, except as otherwise indicated. I/we, as the owner(s) of the Collateral, agree not to sell the property(ies), allow further claims or
encumbrances to be made against it/them, or do anything to reduce its/their value while this Appearance Bond is in effect.

           [ ]
           [)(I      Premises located at:
                     Owned by:
                                                  □;
                                                  _ •
                                                       .=~ ...;- - ;
                     Cash _deposited in the Regis!O' ofth~ourt_th; supi ~f$

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                                                                                                           ·
                                                                                                            48  fOIJI
           [ ]       Premises located at:                                                '
                     Owned by:
           [ ]       Premises located at:
                     Owned by:
           [ ]       Premises located at:
                     Owned by:
           c)O       I/We also agree to execute a Confession of Judgment, mortgage, or lien in form app ove by the U.S. Attorney
                     which shall be duly filed with the proper local and state authorities on or before I    '&
           [ ]       See attached Additional Sureties and Property to be Posted page.

          Forfeiture of the Bond: This Appearance Bond may be forfeited if the defendant fails to comply with any of the conditions
set forth above and on the reverse. The defendant and any surety who has signed this form also agree that the court may immediately
order the amount of the bond surrendered to the United States, including any security for the bond, if the defendant fails to comply
with the above agreement. The court may also order a judgment of forfeiture against the defendant and against each surety for the
entire a ount of the bond, including any interest and costs.                     ·

                                                                                                                       Date:



                                                                                                                       Date:



                                                                                                                       Date:        II   I,/,,.,
                                                                                                                                         •   I


-:-----,,----------------Address: -=--..,..,,.---=-c-c=c-----------Date: _ _ _ __
Surety Signature                                                  City and State, ONLY
Print:
         ------------------
-=------------------Address: - = - - - - - - - - - - - - - - - - D a t e : _ _ _ __
Surety Signature                                                  City and State, ONLY
Print:.
         ------------------
       I HEREBY ACKNOWLEDGE THAT I AM THE DEFENDANT IN THIS CASE. I FURTHER ACKNOWLEDGE
THAT I AM AWARE OF ALL OF THE CONDITIONS OF RELEASE AND ALL OF THE PENALTIES/SANCTIONS SET
FORTH IN THIS ORDER, AND ANY ATTACHMENTS, IF I VIOLATE ANY OF THOSE CONDITIONS.



~J:!H::=
Release of the Defendant is hereby ordered on:
                                                                                     n                            p_           J.
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                                                   STANDARD CONDITIONS OF RELEASE
           It is hereby ordered that the defendant is subject to these standard conditions of release:
( 1)       The defendant must not violate any federal, state or local law while on release.
(2)        The defendant must cooperate in the collection ofa DNA sample if the collection is authorized by 42 U.S.C. § 14135a.
(3)        The defendant must advise the Court, the Pretrial Services Department, defense Counsel and the U.S. Attorney in writing before making
           any change in address or telephone number.
(4)        The defendant must appear in court as required and must surrender for service of any sentence imposed as directed.
(5)        The defendant must refrain from use or unlawful possession of a narcotic drug or other controlled substances as defined in 21 U.S.C. § 802,
           unless prescribed by a licensed medical practitioner.
(6)        If the defendant fails to report as required to the Pretrial Services Department, the defendant may be subject to such random visits at the
           place residence or employment by a Pretrial Services Officer as may be necessary to verify the defendant's place of residence or
           employment in order to secure compliance with this order of release.
(7)        The defendant must not possess a firearm, destructive device, or other weapon.

                                        SPECIAL CONDITIONS OF RELEASE
                     FOR TESTING, TREATMENT OR EVALUATION AND FOR LOCATION MONITORING
          It is hereby ordered that the defendant is subject to these special conditions of release, if the defendant is ordered to undergo
testing/evaluation/treatment for mental health and/or substance abuse, including alcoholism:
(I)       If the defendant fails to appear for any specified treatment or evaluation, the defendant may be subject to random visits at the place of
          residence or employment by a Pretrial Services Officer as may be necessary to verify the defendant's place of residence or employment in
          order to secure compliance with this order of release.
(2)       The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance screening or
          testing. Testing may be used with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing
          system, and/or any form of prohibited substance screening or testing, as determined by the Pretrial Services Department.
(3)       If the defendant is subject to a location restriction program or location monitoring, defendant must:
          (a)        Stay at the place of residence at all times except for approved activities and may not leave for approved activities without
                     providing prior notice to the Pretrial Services Department, except in cases of medical emergencies.
          (b)        Abide by all program requirements and instructions provided by the Pretrial Services Department relating to the operation of
                     monitoring technology. Unless specifically ordered by the Court, the Pretrial Services Department may require use of one of the
                     following or comparable monitoring technology: Radio Frequency (RF) monitoring; Passive Global Positioning Satellite (OPS)
                     monitoring; Active Global Positioning Satellite (OPS) monitoring (including "hybrid" (Active/Passive) OPS); Voice Recognition
                     monitoring.

                                                          FORFEITURE OF THE BOND
         This appearance bond may be forfeited if the defendant does not comply with the conditions of release set forth in this Order. The Court
may immediately order the amount of the bond and any Collateral surrendered to the United States if the defendant does not comply with the
agreement. At the request of the United States, the Court may order a judgment of forfeiture against the defendant and each surety for the entire
amount of the bond, including interest and costs.

                                                             RELEASE OF THE BOND
          This bond may be terminated at any time by the Court. This bond will be satisfied, and the security will be released when either:
(I) the defendant is found not guilty on all charges, or
(2) the defendant reports to serve a sentence.

                                   ADVICE OF PENALTIES AND SANCTIONS TO THE DEFENDANT
            The defendant is advised that violating any of the foregoing conditions of release may result in the immediate issuance of a warrant of
arrest, a revocation of the order of release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
 imprisonment, a fine, or both.
            While on release, if the defendant commits a federal felony offense, the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term ofnot more than one year. This sentence will be consecutive (i.e.,
 in addition to) to any other sentence defendant may receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with a
witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant: or intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve
a killing or attempted killing.
            If, after release, the defendant knowingly fails to appear as the conditions of release require, or to surrender to serve a sentence, the
defendant may be prosecuted for failing to appear or surrender and additional punishment may be imposed, whether or not the defendant is convicted
of the pending charges. If the defendant is convicted of:
           (1)          an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - the defendant
                        will be fined not more than $250,000 or imprisoned for not more than IO years, or both;
           (2)          an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - the defendant will be fined
                        not more than $250,000 or imprisoned for not more than five years, or both;
           (3)          any other felony- defendant will be fined not more than $250,000 or imprisoned not more than two years, or both;
           (4)          a misdemeanor- defendant will be fined not more than $100,000 or imprisoned not more than one year, or both.
           A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence imposed. In addition, a failure
to appear or surrender may result in the forfeiture of any bond posted.
